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 8                                      UNITED STATES DISTRICT COURT
 9                                      EASTERN DISTRICT OF CALIFORNIA
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11   TIMOTHY C. NELSON,                                 Case No. 2:05-cv-01193 MCE-KJM
12                         Plaintiff,
13   v.                                                 ORDER GRANTING DEFENDANT
                                                        CALVIN CHANG’S APPLICATION TO
14   CITY OF DAVIS; JAMES HYDE,                         EXCEED COURT’S PAGE LIMIT ON
     individually and in his official capacity as       REPLY TO OPPOSITION TO MOTION
15   Chief of Police for the CITY OF DAVIS;             FOR SUMMARY JUDGMENT
     SERGEANT JOHN WILSON, individually
16   and in his official capacity as a Sergeant for
     the CITY OF DAVIS; CALVIN HANDY,
17   SERGEANT MICHAEL MASON,
     OFFICER JAVIER BARRAGAN,
18   OFFICER BRANDON JONES, OFFICER
     CALVIN CHANG, OFFICER M.
19   GARCIA, individually and DOES 1-100,
     inclusive,
20
                           Defendants.
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23              The Application of Defendant Calvin Chang for permission to file a reply brief in support

24   of his motion for summary judgment that is over 10 pages in length having been considered by

25   this Court, satisfactory proof having been made and good cause appearing,

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 1              IT IS ORDERED that Defendant Calvin Chang may file a reply in support of his motion

 2   for summary judgment not to exceed 15 pages in length.

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     DATED: December 20, 2006
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 5                                            __________________________________
                                              MORRISON C. ENGLAND, JR
 6                                            UNITED STATES DISTRICT JUDGE

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